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FORM oriso (11/16)
                                     UNITED STATES BANKRUPTCY COURT
                                            Northern District of Florida
                                              Tallahassee Division

In Re: Anneli Mariah Nystrand                                  Bankruptcy Case No.: 21−40006−KKS

       Anneli Mariah Nystrand                                  Adversary Case No.: 21−04003−KKS
       Plaintiff(s)
vs
       Kingdom of Sweden
       Defendant(s)


                                            INITIAL SCHEDULING ORDER

   Rule 1001 of the Federal Rules of Bankruptcy Procedure requires a "just, speedy, and inexpensive determination
of every case and proceeding." To accomplish that purpose, and in accordance with Rule 7016 of the Federal Rules of
Bankruptcy Procedure incorporating Rule 16, Federal Rules of Civil Procedure, it is ORDERED as follows:

    (1) Discovery Period. The parties are directed to conduct discovery so that the due date of any discovery
requested shall not be later than 90 days. The conduct of any discovery which would require a later due date shall be
permitted only on order of the Court. No extension of time will be granted except for good cause and upon showing
of diligence during the initial discovery period. The filing of motions SHALL NOT operate to toll or extend the
discovery cut−off date set forth in this paragraph.

    (2) Rule 7026 Requirements. This scheduling order is entered prior to the meeting of parties and the filing of the
joint report required under Rule 7026, Federal Rules of Bankruptcy Procedure incorporating Rule 26 F.R. Civ. P., so
that discovery can proceed expeditiously and without any unnecessary delay. However, pursuant to Rule 26(d),
unless otherwise ordered by the Court or specifically agreed to by all parties, no discovery shall be initiated by
any party until the meeting required by Rule 26(f) has been completed. It is anticipated that modifications may
be made to this order upon consideration of the parties' joint report. The following will be required of all parties to
this litigation:

           (a) Meeting of Parties and Filing of Joint Report. Counsel of record and any unrepresented parties shall
personally meet within 30 days from the date of this order, as required by Rule 26(f), and the joint report to the Court
shall be filed within 14 days thereafter. The plaintiff shall initiate arrangements for the meeting and filing of the
report, but the Court shall hold all parties equally responsible for insuring that the meeting is held and the report filed
as required. If the parties are unable to agree, each party's position shall be set out in the filed joint report. In addition
to the matters set out in Rule 26(f), the following shall also be discussed at the meeting and specifically addressed in
the joint report:

                 (i) The nature and basis of all claims and defenses, and a good faith attempt to identify the principal
factual and legal issues in dispute.

                  (ii) A statement as to whether the parties object to the Court's entry of a final order or judgment.1
Failure of any party to object within fourteen (14) days of the entry of this order shall constitute consent by such party
to this Court entering all appropriate final orders and judgments in this proceeding. Nothing in this paragraph limits
this Court's ability to determine sua sponte whether this proceeding is a core proceeding under 28 U.S.C. § 157(b)(3)
or otherwise subject to entry of final orders or judgments by this Court.

                 (iii) The possibility for prompt settlement or resolution of the case, and whether mediation (or any
other alternative dispute resolution process) might be helpful in settlement, either now or after certain limited
discovery has taken place.

_________________________________________
1See Wellness International Network, Ltd. v. Sharif, 135 S. Ct. 1932 (2015)
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                (iv) Proposed timetables and cutoff dates for the joinder of other parties, amendments to the
pleadings, and the filing of motions and responses, and in particular, whether this initial scheduling order should be
revised or amended in any way.

                 (v) The parties' respective discovery requirements in this case, and if the parties deem this initial
scheduling order to be inadequate, they shall develop an alternate proposal which specifically addresses the timing
and form of discovery, whether discovery should be conducted in phases or limited in any respect, and what, if any,
changes should be made in the discovery procedures and time deadlines set out in this initial scheduling order, or in
the applicable rules.

                  (vi) A good faith estimate as to when the parties believe the case will be ready for trial (month and
year) and the time required for trial. This date will be set out in the joint report, and if it is not within 8 months from
the date of filing of this case, an explanation must be included.

                (vii) Any other matters which the parties deem appropriate with regard to specific aspects or the
uniqueness of this case, and including any applicable subject within Rule 16(c).

          (b)Rule 26(a)(1) Disclosures. The disclosures required by Rule 26(a)(1) shall be provided (unless
otherwise stipulated), without awaiting a discovery request, to all other parties within 14 days from the date of the
parties' meeting required under Rule 26(f).

          (c)Rule 26(a)(2) Disclosures. Rule 26(a)(2) disclosures of expert witnesses and their opinions shall be
made by the plaintiff within 60 days from the date of this scheduling order, and by the defendant or defendants within
30 days thereafter. Other parties' (if any) disclosures under Rule 26(a)(2) shall be within 30 days after the disclosure
made by the opposing party. Expert witnesses not timely disclosed as required by Rule 26(a)(2), or whose opinions
have been significantly modified or changed after discovery has ended, will normally not be permitted to testify at
trial.

   (3)Additional Court Action or Scheduling Conference. The Court will promptly consider the parties' filed joint
report, and will take one of the following courses of action within 14 days thereafter:

           (a) Enter a final scheduling order by modifying this initial scheduling order as the presiding judge deems
appropriate in light of the parties' joint report, or by adopting the parties' report, or by confirming the requirements of
this order.

           (b) Set the matter for a Rule 16 scheduling conference, either for the attorneys' (and any unrepresented
parties') personal attendance, or to be conducted by telephone. A final scheduling order will be entered thereafter.

          (c) If the Court takes no action within 14 days from the filing of the joint report, this initial scheduling order
will continue in full force and effect until some further order of this Court.

          (d) If any party so requests by motion, a scheduling conference or preliminary pre−trial conference may be
held to address any of the matters set out in Rule 16(a), (b), and (c), Federal Rules of Civil Procedure.

   (4) Interrogatories and Requests for Admissions. The combined total interrogatories and requests for
admissions from one party to another party shall not exceed 50 in number, including sub−parts. The limitation of
Rule 33(a), Federal Rules of Civil Procedure, shall not apply.

    (5) Schedule of Pre−Trial Matters. In accordance with Rule 16(b), Federal Rules of Civil Procedure, the
following schedule shall apply to this case, unless any party shall file an objection or request for a different schedule
within 44 days from the date of this order, viz:

          (a) Joinder of other parties and amendments of pleadings shall be accomplished by the service and filing of
the appropriate motions or pleadings within the time required by the Federal Rules of Civil Procedure, except as
noted below.

          (b) All motions and responses shall be served and filed within the time required by the Federal Rules of
Civil Procedure.

          (c) Motions for summary judgment shall be filed as promptly as possible, but, unless otherwise permitted
by court order, not later than 20 days after the close of discovery.

          (d) A motion for leave to bring in a third−party defendant under Rule 14 of the Federal Rules of Civil
Procedure shall be made either within the period provided for the completion of discovery, or within 3 months from
the date of service of the moving party's answer to the complaint or reply to the counterclaim, whichever comes first;
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provided, however, that motions of this nature may be granted after the expiration of such period in exceptional cases
upon showing of special circumstances and of the necessity for such relief in the interest of justice and upon such
terms and conditions as the Court deems fair and appropriate. Leave of Court shall not be required if the service of
the third−party complaint is made within 10 days as provided by either Rule 14(a) or Rule 14(b), Federal Rules of
Civil Procedure.

         (e) Unless otherwise ordered by the Court, no motions to compel discovery may be filed after the close of
discovery.

          (f) Motions filed may be disposed of without hearing.

         (g) If the rules and this order do not provide a time for the filing or service of motions or pleadings, then
such motions or pleadings shall be served and filed within the period provided for the completion of discovery.

    (6) Attorneys' Discovery Obligations. The Rules of Civil Procedure set out explicit time limits for responses to
discovery requests. If an attorney cannot respond on time, he should move for an extension of time within which to
do so, and consult with, or inform, opposing counsel, so that in the meantime no motion to compel a response will be
filed. Stipulations extending the time for responses to discovery may be made only as authorized by Rule 29, Federal
Rules of Civil Procedure.

    (7) Rule 37 Awards of Motion Expenses. Since attorneys are expected to comply with the rules, the Court will
ordinarily award counsel fees for time spent in filing (and, if necessary, arguing) a motion to compel if such a motion
is necessary to make the recalcitrant party respond, or for time spent in opposing (and, if necessary, arguing) such a
motion that is found to be unnecessary or without basis, and Rule 37 of the Federal Rules of Civil Procedure will be
strictly enforced. Certification of all discovery requests, responses, and objections is required under Rule 26(g), and
violations thereof will be subject to sanctions.

     (8) Resolution of Discovery Controversies. Counsel should attempt to resolve discovery controversies without
the Court's intervention. The Court will entertain a motion with respect to matters which remain in controversy only
if, after consultation and sincere attempts to resolve differences, counsel are unable to reach an accord. Any motion
filed shall include certification that such attempts have been made, in accordance with Rule 37 and Local Rule 512A.
Counsel's attention is also directed to the provisions of Rule 26, Federal Rules of Civil Procedure, [Over−Discovery
and Counsel's Obligations], and Title 28, United States Code, Section 1927 [Counsel's Liability for Excessive Costs].

    (9) Summary Judgment Motions. Any motion for summary judgment filed pursuant to Rule 56 (or Rule
12(b)(6) which requires reference to matters outside the pleading), Federal Rules of Civil Procedure, shall be
accompanied by a separate, short and concise statement of the material facts as to which the moving party contends
there is no genuine issue to be tried. Failure to submit such a statement constitutes grounds for denial of the motion.

    The statement shall reference the appropriate deposition, affidavit, interrogatory, admission, or other source of the
relied−upon material fact, by page, paragraph, number, or other detail sufficient to permit the Court to readily locate
and check the source.

   The party opposing a motion for summary judgment shall, in addition to other papers or matters permitted by the
rules, file and serve a separate, short and concise statement of the material facts as to which it is contended that there
exists a genuine issue to be tried, in the format set forth above.

  All material facts set forth in the statement required to be served by the moving party will be deemed to be
admitted unless controverted by the statement required to be filed and served by the opposing party.

   (10) Amendments. This order may be amended by the Court on its own motion or upon motion of any party.

   DONE AND ORDERED on May 19, 2021.

                                                              /s/ Karen K. Specie
                                                              Karen K. Specie
                                                              U.S. Bankruptcy Judge

SERVICE BY THE COURT TO:
  Attorney(s) for Plaintiff(s)
  Attorney(s) for Defendant(s)
